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Description Appearance Sheet for the United States District Court Western District of Virginia
              Charlottesville Division, USA v. Benjamin Drake Daley; Case No. 3:18CR25: Date:
              12/3/18; Type of Hearing: BND; Parties 1. Joel C. Hoppe, USMJ; 2. Chris
              Kavanaugh, Thomas Cullin; 3. Lisa Lorish, AFPD; 4. Defendant; Recorded by :
              Heidi N. Wheeler; Time in Court: 1hr 6 min


Date          12/3/2018 Location [CVILLE-3FTR]
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Appearance Sheet for the United States District Court Western District of Virginia Charlottesville
                                                                                    [CVILLE-3FTR]  Di

   Time         Speaker                                       Note
1:14:29 PM    1,2,1,3
1:15:04 PM    1
1:15:17 PM    3
1:16:29 PM    1
1:16:31 PM    2
1:17:36 PM    1
1:18:32 PM    2
1:18:34 PM    1
1:18:45 PM    3             Witnesses called
1:19:14 PM    1
1:19:21 PM    5
1:19:30 PM    3
1:19:32 PM    5             Joan Daley
1:19:37 PM    3,5
1:23:19 PM    3,5
1:25:01 PM    3,5
1:33:03 PM    1,2,1,3       Cross of Ms. Daley
1:33:14 PM    1,2
1:33:25 PM    2             Photos submitted for consideration
1:33:35 PM    1,3
1:34:21 PM    1,2           Government walks Court through Phtotos
1:34:53 PM    1,2
1:34:58 PM    1,3
1:35:05 PM    1,2           Weight of the evidence
1:38:39 PM    2
1:42:43 PM    2
1:46:57 PM    2
1:51:27 PM    2
1:52:55 PM    2             History and Characteristics
1:56:31 PM    2             Nature and Seriousness
1:58:57 PM    2
2:00:11 PM    1
2:00:14 PM    3
2:00:34 PM    1
2:00:35 PM    3,1
2:29:18 PM    1,3           Summary of release plan
2:29:33 PM    3
2:32:26 PM    1
2:33:00 PM    3
2:34:33 PM    1
2:35:39 PM    3
2:38:08 PM    1


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Appearance Sheet for the United States District Court Western District of Virginia Charlottesville
                                                                                    [CVILLE-3FTR]  Di

2:38:13 PM    2
2:38:52 PM    1             Court will review issues
2:39:06 PM    Break
2:52:15 PM    1             Findings by Court
2:56:44 PM    1
3:00:54 PM    1
3:01:59 PM    2
3:02:00 PM    3
3:02:01 PM    1             An order will enter
3:02:28 PM    End




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